Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 1 of 40

EXHIBIT 6

Memorandum in Opposition to Utah Stay Motion, with
Exhibits 2-4 Excluded to Avoid Duplication
Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 2 of 40

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Altiorneys for Plaintiff

IN THE THIRD JUDICIAL DISTRICT IN AND FOR
SALT LAKE COUNTY, STATE OF UTAH

MERGENCE CORPORATION, dba

“ r 3Tt XY y
SNe RE TAIL GROUP, a Delaware MEMORANDUM IN OPPOSITION TO
p MOTION TO STAY PROCEEDINGS

Plaintiff, (Oral Argument Requested)

vs,

Q ADVISORS LLC, a Colorado limited

wat Civil No. 150901798
liability company,

Judge James Gardner

Defendant.

Defendant Q Advisors LLC (“Q Advisors”) has moved the Court to stay these proceedings
until resolution of the lawsuit between the parties currently pending in Colorado state court.
Plaintiff Mergence Corporation, dba Spring Retail Group, a Delaware corporation (“Mergence-
Delaware”) hereby submits this memorandum in opposition to Q Advisors’ motion to stay. The
Court should not exercise its discretion to stay this action because the applicable factors to be
considered by the Court weigh against granting a stay. Q Advisors’ motion to stay these

proceedings should be denied.

{002991 14/1} ]
Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 3 of 40

FACTUAL BACKGROUND

A, The parties,

1. Mergence-Delaware is a Delaware corporation with its principal place of business
and primary operations in Salt Lake City, Utah, Mergence-Delaware is a holding company for
technology businesses, (See Declaration of Jason S. Ellis, € 2, filed concurrently herewith.)

2, Q Advisors is a Colorado limited liability company headquartered in Denver,
Colorado. It specializes in assisting companies with business transactions such as mergers and
acquisitions, debt and equity financings, and recapitalizations. Q Advisors is registered with the
United States Securities and Exchange Administration as a broker-dealer. Q Advisors is also
registered in the states of California and Colorado as a broker-dealer, but not in Utah. (See FINRA
BrokerCheck, pp. 8-9, attached hereto as Exhibit 1.)

B. Q Advisors helps Mergence-Delaware sell one of its Utah subsidiaries, Simply Mac.

3, On March 15, 2012, Mergence-Delaware entered into an agreement with
Q Advisors whereby Q Advisors would provide investment banking services in connection with
the sale of a subsidiary of Mergence-Delaware known as Simply Mac, Inc. (“Simply Mac”), a Utah
corporation (“Engagement Letter No, 1”). (See a copy of Engagement Letter No. | attached as
Exhibit A to Declaration of Jason S, Ellis.) At the time of Engagement Letter No. 1, the principal
place of business of Mergence-Delaware and Simply Mac was in Salt Lake City, Utah.
(Declaration of Jason S, Ellis, 4 3.)

4, Paragraph eight of Engagement Letter No. | provides that “This letter agreement
shall be governed by and construed in accordance with the laws of the State of Utah as applied to

contracts made and performed in such state.” (Engagement Letter No. 1, p. 5.)

{00299114/1 } 2
Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 4 of 40

5, Pursuant to Engagement Letter No. 1, Q Advisors assisted Mergence-Delaware in
the sale of Simply Mac, and Q Advisors received fees of $690,000 plus expenses for its services.
Q Advisors has never claimed that it is owed additional fees in connection with the sale of Simply
Mac, (Declaration of Jason S. Ellis, 4 4.)

6. The sale of Simply Mac took place in two transactions, the first in October, 2012,
and the second in November, 2013. (See excerpts from the first Stock Purchase Agreement
attached as Exhibit B to the Declaration of Jason S. Ellis.) The Stock Purchase Agreement shows
that in addition to Mergence-Delaware, the other selling shareholders were four individuals who
were Utah residents, including Steve Bain, Tyler Dickman, Kent Thomas, and Kent Forsgren. (/d.)

Cc. Q Advisors helps raise capital for Mergence-Delaware’s subsidiary Spring
Communications Holding, Inc,, which had its principal place of business in Utah.

7, On January 18, 2013, Mergence-Délaware entered into a second agreement with Q
Advisors whereby Q Advisors would provide investment banking services (‘Engagement Letter
No. 2”). (See a copy of Engagement Letter No. 2 attached as Exhibit C to the Declaration of Jason
S, Ellis.) Pursuant to Engagement Letter No. 2, Q Advisors agreed to provide services in raising
capital “in connection with a private placement to qualified institutional buyers.” (Cd. at p, 1.)

8. Paragraph eight of Engagement Letter No. 2 provides that “This letter agreement
shall be governed by and construed in accordance with the laws of the State of Utah as applied to
contracts made and performed in such state.” (Ud. at p. 5.)

9. Paragraph 15 of Engagement Letter No. 2 also provided that in the event Mergence-
Delaware pursued a sale or recapitalization of Mergence-Delaware, the parties would “negotiate
in good faith a new engagement letter under which Q Advisors would be [Mergence-Delaware’s]

exclusive financial advisor for that assignment/transaction.” (/d. at p. 5.) Paragraph 15 does not

{002991 14/1 } 3
Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 5 of 40

set forth any materia! or essential terms — including pricing or payment terms ~ with respect to the
possible future agreement to be negotiated by the parties,

10, At the time of Engagement Letter No. 2, Mergence-Delaware was the 100% owner
of a subsidiary known as Spring Communications Holding, Inc., a Delaware corporation (“Spring
Communications”), Spring Communications in turn was the 100% owner of various corporate
entities, including Spring Communications, Inc., a Utah corporation (“Spring”). (Declaration of
Jason 8. Ellis, @7.)

Il, Atall times relevant to Engagement Letter No. 2, the principal place of business of
Mergence, Spring Communications, and Spring was Salt Lake City, Utah, (ad. 4 8.)

12, In 2013, Spring operated 60 stores as an exclusive retailer of AT&T wireless
devices and services, The stores were located in many different states, and a few of those stores
were located in Colorado, Ud. § 9.)

13. Pursuant to Engagement Letter No. 2, Q Advisors assisted Spring Communications
and its subsidiaries, including Spring, in obtaining financing from Fifth Third Bank. Spring
Communications and its subsidiaries entered into a loan and security agreement with Fifth Third
Bank in connection with this financing transaction. This financing transaction closed in July 2013.
(fd. FF 10-11.)

14. Mergence-Delaware was not a party to the loan and security agreement and did not
receive any of the proceeds from the financing. (/d. 4 11; see also excerpts from loan and security
agreement for this financing transaction attached as Exhibit D to the Declaration of Jason S, Ellis,)

15, Q Advisors was paid for the services it performed under Engagement Letter No. 2.

Specifically, Spring Communications and related entities paid $670,000 in fees plus expenses to

(002991 14/1 } 4
Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 6 of 40

Q Advisors for its investment banking services in raising the debt capital pursuant to Engagement
Letter No, 2. Q Advisors has never claimed that it is owed additional fees related to this
transaction. (Declaration of Jason S, Ellis, € 12.)
D, Mergence-Delaware sells Spring Communications without the help of Q Advisors.

16. In October 2013, Mergence-Delaware sold 100% of its shares in Spring
Communications to GameStop Corp. (“GameStop), a company with its principal office in Texas.
Ud. 4 13-14; see also excerpts from the stock purchase agreement attached as Exhibit E to the
Declaration of Jason S. Ellis.)

17. In its Counterclaim, Q Advisors seeks compensation related to the sale of Spring
Communications to GameStop. (See Counterclaim; see also Declaration of Jason S. Ellis, { 14.)

18. QAdvisors had no involvement in the transaction between Mergence-Delaware and
GameStop for the sale of Spring Communications. Neither Mergence-Delaware nor Spring
Communications had any need for Q Advisors’ services or involyement. Q Advisors has none of
the files or documents related to this transaction, all of which are stored in the records of Mergence-
Delaware in Salt Lake City, Utah or the offices of GameStop in Texas, None of the events related
to this transaction occurred in Colorado. None of the individuals who were involved in this
transaction reside in Colorado, but reside in Utah and Texas. (Declaration of Jason S. Ellis, § 15.)

19, Mergence-Delaware did not retain the services of any investment banker in
connection with the sale of Spring Communications to GameStop because it did not need any such
services for this transaction. Ud. ¥ 16.)

20.  Asnoted above, Spring did have operations in Colorado at the time of the sale of

Spring Communications to GameStop in October 2013. However, Mergence-Delaware has never

{002991 14/1 } 5
Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 7 of 40

had any employees, officers, agents, offices, bank accounts, or phone listings in Colorado,

Mergence-Delaware has never advertised or registered to do business in Colorado nor has it sold

any products or services in Colorado. (/d. § 17.)

E. Q Advisors sues Mergence-Nevada and Jason Ellis for not negotiating a new
agreement with Q Advisors in connection with the sale of Spring Communications
to GameStop,

21. On March 17, 2015, Q Advisors filed a complaint in Colorado state court against
Mergence Corporation, a Nevada Corporation (“Mergence-Nevada”) and Jason S. Ellis, the
president of Mergence-Nevada. In the complaint, Q Advisors alleged that the parties to
Engagement Letter No, 2 are Mergence-Nevada and Q Advisors and that Mergence-Nevada
breached paragraph 15 of Engagement Letter No, 2 and the implied covenant of good faith and
fair dealing because it did not negotiate a new engagement letter with Q Advisors prior to the sale
of Spring Communications to GameStop. The Colorado complaint named Ellis personally as a
defendant based on Q Advisors’ theory that Ellis, as an officer of Mergence-Nevada, was
personally liable for Engagement Letter No. 2 because Mergence-Nevada was not permitted to
transact business at the time of Engagement Letter No. 2. (See copy of Q Advisors’ Colorado
complaint attached as Exhibit 2.)

22.  Q Advisors sued Mergence-Nevada under Engagement Letter No. 2 despite the fact
that the actual party to Engagement Letter No, 2 - Mergence-Delaware — had held itself out to Q
Advisors as a Delaware corporation. (See id. ¥ 19.)

23, Mergence-Nevada is an actual entity that is separate and distinct from Mergence-

Delaware. It is a Nevada corporation that was formed in August 2005. Mergence-Nevada has

{002991 14/1 } 6
Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 8 of 40

never conducted any business in Colorado or with Q Advisors... (Affidavit of Jason Ellis, $4 3, 4,
and 7, attached. hereto as. Exhibit 3.)
F. Mergence-Delaware files a complaint against Q Advisors in this Court.

24, On March 18, 2015, Mergence-Delaware filed this action against Q Advisors
seeking a judgment from this Court declaring that Mergence-Delaware owes no fees to Q Advisors
as a result of the sale of Spring Communications to GameStop. In support of its claim for
declaratory relief, Mergence-Delaware asserts in its complaint that Mergence-Delaware is a party
to Engagement Letter No. 2; that Mergence-Delaware has not been sold or recapitalized since
Engagement Letter No. 2; that Q Advisors has already been paid in full for the services it rendered
under Engagement Letter No, 2; that Q Advisors provided no services to Mergence-Delaware or
Spring Communications in connection with Mergence-Delaware’s sale of Spring Communications
to GameStop; and that Utah law does not recognize a duty to negotiate an agreement.

25. Mergence-Delaware did not name Mergence-Nevada or Ellis as parties to this Utah
action because they are not parties to or liable under Engagement Letter No. 2.

26. Q Advisors was served with the Utah complaint on March 31, 2015. It answered
the Utah complaint and filed a counterclaim against Mergence-Delaware on April 30, 2015.

G. Mergence-Nevada and Ellis move to dismiss Q Advisors’ Colorado complaint and
Q Advisors moves to add Mergence-Delaware as a party to the Colorado complaint.

27. On March 30, 2015, Mergence-Nevada and Ellis moved the Colorado state court to
dismiss Q Advisors’ complaint on account of their not having transacted business in Colorado
within the meaning of Colorado’s long-arm statute and not having sufficient minimum contacts
with Colorado to be subject to personal jurisdiction there. They provided evidence to the court

that Mergence-Nevada had never conducted business in Colorado, had never transacted business

(002991 14/1 } 7
Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 9 of 40

with Q Advisors, was not a party to Engagement Letter No. 2, and had not sold Spring
Communications to GameStop.

28. In response to the motion to dismiss for lack of personal jurisdiction, Q Advisors
conceded that Mergence-Nevada was not a party to Engagement Letter No. 2, However,
Q Advisors opposed dismissal of the Colorado complaint and moved the court for permission to
amend its complaint to drop Mergence-Nevada and Ellis as defendants to the action and to add a
new party, Mergence-Delaware, as the sole defendant,

29. On May 5, 2015, the Colorado state court ruled on the parties’ respective motions
to dismiss and for leave to amend. The court dismissed Mergence-Nevada and Ellis as defendants
to the Colorado suit, but, under the liberal standard applied to motions for leave to amend,
permitted Q Advisors to amend its complaint to add Mergence-Delaware as the sole defendant.
Q Advisors filed its amended complaint against Mergence-Delaware on the same day, May 5,
2015, (See copy of Q Advisors’ Amended Complaint attached hereto as Exhibit 4,)

30.  Mergence-Delaware accepted service of the amended complaint on May 6, 2015.
Its deadline to answer or otherwise respond to the amended complaint is May 26, 2015. Mergence-
Delaware intends to move the Colorado court to dismiss the Colorado amended complaint for lack
of personal jurisdiction and/or to stay the Colorado action pending resolution of this Utah action.

ARGUMENT

A. It is not imperative that the Court exercise its discretionary stay powers in this
matter,

The fact that the parties have another similar action pending in Colorado does not
necessitate a stay of this case, The Supreme Court of Utah explained the following in Power Train,

Ine. vy. Stuver, 350 P.2d 1293, 1294 (Utah 1976):

(O0299114/t } 8
Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 10 of 40

where two identical actions between the same parties are initiated, first in one state

and then in another, it is generally held that such identical actions can co-exist in

different states, provided that a judgment in one may be pleaded in bar or in

abatement to the other. An action in personam pending in one state is not sufficient
ground to sustain a plea in abatement to an action on the same cause between the

same parties in a second state.

(internal citations omitted). This principle and standard applies in this case. The parties’ suits in
Utah and Colorado are based upon the same set of facts and circumstances, and a judgment in one
action would preclude, through res judicata, a subsequent inconsistent judgment in the other. The
parties’ separate suits can co-exist. There is no requirement for a stay and the Court need not feel
compelled to order a stay on account Q Advisors’ motion.

It is true, however, that a Utah court has discretion to stay a case on its docket if there is
already an identical action between the parties pending in another state, but such a decision must
be made cautiously after careful analysis of specific factors set forth in Utah law. See id. at 1294-
1295. This memorandum shows how each of the applicable stay factors to be considered by the
Court weigh against staying this matter in deference to the Colorado action. Q Advisors’ motion

to stay this matter should therefore be denied.

B. The Colorado action between Q Advisors and Mergence-Delaware was not the first-
filed suit between the parties and it should not be given priority.

Q Advisors argues that this Court should give priority to the Colorado action, and therefore
stay this Utah action, because the Colorado action was filed first. This is incorrect. Q Advisors’
amended complaint alleging causes of action against Mergence-Delaware was not filed in
Colorado until May 5, 2015. Mergence-Delaware was not made a party to the Colorado action |
until May 5, 2015. On the other hand, Mergence-Delaware filed this Utah action against

Q Advisors on March 18, a full 47 days before Mergence-Delaware was added as a defendant to

(002991 14/1} 9
Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 11 of 40

the Colorado action, Furthermore, Mergence-Delaware achieved service of process on Q Advisors
in connection with its Utah complaint before Q Advisor’s achieved service of process on
Mergence-Delaware in connection with its Colorado complaint. The fact that Q Advisors sued
Mergence-Nevada before Mergence-Delaware filed this suit is irrelevant since “Utah law has long
recognized. the importance of the separate legal identity of corporations and has been unwilling to
permit parties to ignore those distinctions.” Sachs v. Lesser, 2007 UT App 169, § 51, 163 P.3d
662. A lawsuit against Mergence-Nevada is not the same as a lawsuit against Mergence-Delaware.
This action should be given priority over the Colorado suit not only for the reason that it
was filed and served first, but for all the reasons set forth below demonstrating why Utah is the
most appropriate and convenient forum given the facts, available evidence, and controlling law of
the parties’ dispute. After all, the determination regarding whether to stay or not stay this action
does not hinge upon which party filed first, but on the consideration of the applicable stay factors
set forth in Utah case law. The first-to-file rule is not mechanically applied, but is left to the
discretion of the court. See, e.g., Hospah Coal Co. v. Chaco Energy Co., 673 F.2d 1161, 1164
(10th Cir. 1982),
Cc. The applicable factors to be considered by the Court weigh against granting a stay.
Q Advisors misapplies several of the factors the Court must consider in determining
whether it is appropriate to order a stay of this matter. Q Advisors also ignores other relevant
factors, such as the key factor regarding which state’s law applies. Below is a list of relevant
factors, as referenced in Power Train, which Utah courts should consider when deciding whether

to grant a stay in light of parties having actions pending simultaneously in different jurisdictions:

(002991 14/1 } 10
Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 12 of 40

the importance of discouraging multiple litigation designed solely to harass an
adverse party, and of avoiding unseemly conflicts with the courts of other
jurisdictions;

whether the rights of the parties can best be determined by the court of the other
Jurisdiction because of the subject matter, the availability of witnesses, or the stage
to which the proceedings in the other court have already advanced;

the relative ease of access to proof;

the availability of compulsory process for witnesses;

all other practical problems that would make the trial of the case easy, expeditious
and inexpensive;

whether the controversy is dependent upon the application of the law of this State

which the courts herein more properly should decide than those of another

jurisdiction,
fd, at 1295 (internal citations omitted); see also Nationwide Mut. Ins. Co. v. Mayer, 833 P.2d 60,
62 (Colo. App. 1992) (Colorado court of appeals applying these stay factors and citing Power
Train). As explained below, each of the factors above weigh against ordering a stay of this Utah
action in deference to the parties’ pending Colorado action,

1. The parties’ dispute is governed by and dependent upon the application of

Utah law, making it more proper for this Court to decide the case than the
Colorado state court,

The parties’ dispute centers on whether Mergence-Delaware breached paragraph 15 of
Engagement Letter No, 2, Paragraph eight in Engagement Letter No. 2 specifies that the
Agreement is governed by Utah law, meaning resolution of the parties’ dispute turns upon
application of Utah law. In addition, Q Advisors’ claim for damages resulting from Mergence-
Delaware’s alleged breach of paragraph 15 turns on whether current Utah law should be reversed,

modified, or extended, as current Utah law provides that indefinite and incomplete agreements to

negotiate an agreement in the future - which paragraph 15 of Engagement Letter No. 2 plainly is

{002991 14/1 } 1
Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 13 of 40

~ are unenforceable. See King v. Nev. Elec. Inv. Co., 893 F. Supp. 1006, 1015-18 (D, Utah 1994).
Certainly, this Court is better positioned than the Colorado court to not only apply Utah law, but
to decide whether Utah law should be reversed, modified, or extended.

It is well established that indefinite and incomplete agreements to negotiate an agreement
in the future are not enforceable under Utah law. In King, the agreement at issue contained a
provision very similar to paragraph {5 of Engagement Letter No, 2, as it required the parties to
negotiate a mining agreement in the future, but did not contain any material terms of the
contemplated future mining agreement. Jd at 1015-16. Plaintiffs alleged that defendant breached
the provision by not negotiating a mining agreement with them, Jd. at 1017. The provision at
issue in King states in relevant part:

During the Option Period, NEICO and Andy King... . will negotiate in good faith

to conclude a Mine Management Agreement (MINE AGREEMENT) under which

Andy King will operate the GENWAL MINE for us. The MINE AGREEMENT

would take effect upon the closing of the Option Agreement by NEICO or its

nominee purchasing all of the stock of GENWAL,

Td. at 1015.

The court in King found that the provision was nothing more than an agreement to
negotiate a new agreement, that it “leaves open essentially every material and/or major term of the
contemplated Mine Agreement,” and that, accordingly, it was “too indefinite and uncertain to be
enforceable.” /d. at 1017, The court cited the Tenth Circuit as support for its ruling that Utah law
does not enforce incomplete or indefinite agreements to negotiate a new agreement.

As concerns an agreement to enter into a contract, the general rule is that where
the agreement itself contains all essential terms it may be specifically enforced
even though the parties contemplated the subsequent execution of a formal
contract. The converse of this proposition is that an agreement to enter Into a

contract will not be specifically enforced where the agreement is incomplete or
indefinite as to substantial and material matters... ,

{002991 14/1 } {2
Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 14 of 40

Utah would appear to be in accord with the general contract law set forth above.

id, (citing D.H. Overmyer Co. v. Brown, 439 F.2d 926, 929 (10th Cir. 1971)) (emphasis added),
The court also summarized general contract law in Utah to support its ruling, explaining that
A condition precedent to the enforcement of any contract is that there be a
meeting of the minds of the parties, which must be spelled out, either expressly
or impliedly, with sufficient definiteness to be enforced. This statement reflects
the well-established rule in Utah that an agreement will only be enforced where
its terms are set forth with sufficient definiteness to allow the court to enforce
the agreement of the parties.
Sufficient definiteness is required so that the Court is not left with the task of
writing an agreement for the parties. The court cannot fabricate the kind of
contract the parties ought to have made and enforce it. Although it is not
necessary that the contract provide for every collateral matter or possible
contingency, the parties themselves must have set forth with sufficient
definiteness at least the essential terms of the contract.
fd. at 1016 (internal citations and quotations omitted); see also Candland y. Oldroyd, 248 P. 1101,
1102 (Utah 1926) (“So long as there is any uncertainty or indefiniteness, or future negotiations or
considerations to be had between the parties, there is not a completed contract, In fact, there is no
contract at all.”).

The court in King specified that its analysis on agreements to negotiate a new agreement
applied to claims for specific performance and to claims for damages. Jd. at 1017. It cited
decisions from the Second and Eighth Circuit courts explaining how damages are impossible to
calculate in cases of indefinite agreements to negotiate a new agreement and how such agreements
are unenforceable because they don’t provide an appropriate remedy. Id. (citing Necchi v. Necchi

Sewing Machine Sales Corp., 348 F.2d 693, 698 (2nd Cir. 1965) (holding that it would be

impossible for the court to assess damages stemming from an agreement that was not negotiated

(00299114/1 } — 13
Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 15 of 40

or entered into by the parties); Ohio Calculating, Inc. v. CPT Corp., 846 F.2d 497, 501 (8th Cir,
1988) (holding that agreement to negotiate in good faith was not enforceable because it “provide[d]
neither a basis for determining the existence ofa breach nor for giving an appropriate remedy.”)).
The court in King found the reasoning of these decision to be “sound.”

It is important to note that the plaintiffs in King, like Q Advisors, asserted not only a claim
for breach of contract for defendant’s failure to abide by the provision requiring negotiation of a
mining agreement in the future, but they also asserted a claim for breach of the duty of good faith
and fair dealing on the same grounds. However, the court rejected this claim, reasoning that

[T]he court finds as a matter of law that the agreement to negotiate is unenforceably

vague and indefinite. Consequently, there is no enforceable contract to support

plaintiff's claim for breach of the attendant duty of good faith and fair dealing.
King, 893 F. Supp. at 1020,

Given the application of Utah law and Q Advisors’ need to reverse, modify, or extend Utah
law in order to prevail on its claims, this Court should hear and decide the parties’ dispute. It
would not be prudent to leave resolution of these Utah law issues to the Colorado court,

2. The Colorado court is not better positioned to determine the parties’ rights,

This factor inquires as to whether the Colorado state court is in a better position to
determine the parties’ rights in light of the subject matter of the parties’ dispute, available
Witnesses, and the progress of the Colorado action. The answer to this inquiry is no, as each of
these considerations demonstrate that this Court, not the Colorado state court, is in the best position

to hear and decide the parties’ dispute.

(002991 14/1 } 14
Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 16 of 40

With respect to subject matter, as set forth above, it is clear that this Court is better
positioned than the Colorado court to hear and decide this case because Utah law governs and
controls the parties’ claims.

Regarding availability of witnesses, none of the potential witnesses involved with the sale
of Spring Communications — which transaction forms the basis of the parties’ dispute — resides in
Colorado. None of the events related to this transaction occurred in Colorado and none of the files
or documents for this transaction are stored in Colorado. As described in Mergence-Delaware’s
initial disclosures filed with this Court on May 20, 2015, most of the potential witnesses reside in
Utah. Such witnesses would be more readily available and accessible for purposes of being
deposed or testifying at a trial in Utah as opposed to in Colorado.

Q Advisors asserts that key witnesses to this case are located in Colorado, but all such
witnesses relate not to the complained-of sale of Spring Communications, but to the services
Q Advisors provided in obtaining financing from Fifth Third Bank and in the sale of Simply Mac.
There is no dispute regarding Q Advisors’ performance of these services or payment of fees for
these services, What is at dispute between the parties is the sale of Spring Communications, and
that transaction and the potential witnesses who were involved in that transaction have no
connection to Colorado. Utah is far more convenient forum with respect to the availability of
witnesses,

Q Advisors’ assertion that the Colorado action has progressed beyond this Utah action is
not true. Mergence-Delaware was not a party to the briefing in Colorado on Mergence-Nevada
and Ellis’s motion to dismiss or Q Advisors’ motion for leave to amend. Indeed, Mergence-

Delaware was not made a party to the Colorado action until May 5, 2015. Mergence-Delaware

{00299114/1 } 15

Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 17 of 40

has not filed an answer to Q Advisors’ amended complaint in Colorado nor has it provided any
initial disclosures to Q Advisors in the Colorado action. Also, no discovery has been done in the
Colorado action. On the other hand, in the Utah action, Q Advisors has filed an answer to
Mergence-Delaware’s complaint and it has also filed a counterclaim against Mergence-Delaware.
In addition, Mergence-Delaware has provided its initial disclosures to Q Advisors and has served
Q Advisors with Mergence-Delaware’s first set of interrogatories and requests for production of
documents, The dispute between Mergence-Delaware and Q Advisors has progressed further in
this Utah action than it has in the Colorado action,

Utah also has an important interest in resolving this dispute under the state’s securities
laws. Q Advisors is a securities broker-dealer that has rendered multiple services for Utah
businesses, but it has never been licensed in Utah. See UTAH CODE ANN, § 61-1-3(1) and § 61-1-
13(1)(c). Q Advisors bears the burden of establishing an exception to the licensing requirement.
UTAH Cone ANN, § 61-1-14.5,

3. It makes practical and economic sense for the parties’ dispute to proceed in
Utah, not Colorado.

This factor references the importance of discouraging multiple litigation designed solely to
harass an adverse party, This factor does not weigh in favor of staying this action, as Mergence-
Delaware did not file this suit against Q Advisors in order to harass Q Advisors, Mergence-
Delaware filed this action because it was not a party to Q Advisors’ suit in Colorado and because
it made no sense to initiate litigation in Colorado regarding a contract governed by Utah law and
a transaction between parties in Utah and Texas. Mergence-Delaware agrees with Q Advisors that

it makes little practical or economic sense for the parties and both courts to expend resources

(002991 14/1 } 16
Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 18 of 40

litigating the parties’ dispute in two different jurisdictions, But given the circumstances, it does
make sense practically and economically for the litigation to proceed in Utah, not Colorado.

The issues to be litigated by the parties are whether paragraph [5 of Engagement Letter
No. 2 is enforceable and whether Mergence-Delaware violated paragraph 15 or a covenant of good
faith and fair dealing when it sold Spring Communications to GameStop without the assistance of
Q Advisors, Utah law governs and controls both of these issues. The transaction involving
Mergence-Delaware, Spring Communications, and GameStop occurred in Utah and Texas, not
Colorado. None of the persons directly involved in the complained of transaction are in Colorado,
The majority of potential witnesses qualified to testify about the transaction with GameStop are in
Utah, and others are in Texas, The relevant discovery pertaining to the transaction with GameStop
is not housed in Colorado, but in Utah with Mergence-Delaware. It makes no economic or
practical sense to litigate in Colorado state court the enforceability of paragraph 15 and the.
hypothetical damages stemming from an alleged breach thereof by way of a transaction that
occurred between Mergence-Delaware in Utah and GameStop in Texas,

This factor weighs against granting a stay, as Utah is the most practical forum in which to
litigate the parties’ dispute. As mentioned above, Mergence-Delaware intends to move the
Colorado court to dismiss the Colorado action for lack of personal jurisdiction and/or to stay the
Colorado action pending resolution of this Utah action. After all, Mergence-Delaware has never
had any employees, officers, agents, offices, bank accounts, or phone listings in Colorado, nor has
it ever advertised, registered to do business, or sold any products or services in Colorado. Q
Advisors points out that Spring had operations in Colorado at the time Q Advisors helped raise

debt capital pursuant to Engagement Letter No. 2. Spring is a subsidiary of Spring

{00299 14/1} 17

Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 19 of 40

Communications, and Spring Communications is a subsidiary of Mergence-Delaware. The
operations of Mergence-Delaware’s subsidiaries in Colorado do not subject Mergence-Delaware
to personal jurisdiction in Colorado. See Good v. Fuji Fire & Marine Ins. Co.,271 F. App’x 756,
759 (10th Cir. 2008) (“For purposes of personal jurisdiction, ‘a holding or parent company has a
separate corporate existence and is treated separately from the subsidiary in the absence of
circumstances justifying disregard of the corporate entity.’” (quoting Quarles vy, Fuqua Indus.,
Inc., 504 F.2d 1358, 1362 (10th Cir. 1974) and citing Benton V. Cameco Corp., 375 F.3d 1070,
1081 (10th Cir, 2004)), Moreover, Mergence-Delaware no longer has an interest in Spring
Communications or its Spring entities.

Q Advisors also argues that Colorado is a more convenient venue because a majority of
the services it performed under Engagement Letter No. 2 were performed in Colorado, However,
Q Advisors rendered services as a securities broker-dealer for companies with their principal
places of business in Utah, giving this dispute a far greater connection to Utah than Colorado. In
both Engagement Letter No. |] and No, 2, Q Advisors agreed in paragraph eight that “This letter
agreement shall be governed by and construed in accordance with the laws of the state of Utah as
applied to contracts made and performed in such state.” (emphasis added.) In other words,
contrary to Q Advisors’ assertions, it contractually agreed that the agreement in question was made
and performed in Utah, not Colorado. Furthermore, those services, and payment for those services,
are not at issue in this case. The transaction presently at issue between the parties is Mergence-
Delaware’s transaction in selling Spring Communications, Q Advisors had no involvement in that
transaction and the transaction took place between Mergence-Delaware in Utah and GameStop in

Texas. The transaction has no connection to Colorado.

(002991 14/1 } 18
Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 20 of 40

4, Evidence and proof related to parties’ dispute is more easily accessible in Utah.

This factor weighs in favor of not granting a stay because most of the relevant evidence is
stored by Mergence-Delaware in Salt Lake City, Utah. None of the events related to the
complained-of sale of Spring Communications occurred in Colorado and none of the files or
documents for this transaction are stored in Colorado. Also, the majority of potential witnesses
reside in Utah, making their appearance at trial in Utah, if necessary, less complicated and
burdensome.

5. Many of the potential witnesses could not be compelled to testify at trial in
Colorado because they are Utah residents.

Most of the potential witnesses who have knowledge about or who had involvement in
Mergence-Delaware’s transaction with GameStop are residents of Utah. As a result of residing in
Utah, most of these individuals would not be required to comply with a subpoena to testify at trial
in Colorado as part of the parties’ Colorado action. Even if such witnesses voluntarily agreed to
appear at trial in Colorado, the travel and related expenses would likely be inconvenient,
burdensome, and expensive for the witnesses and parties. On the other hand, compelling these
same Utah residents to testify at trial here in Utah as part of this Utah action would not be an issue.
None of the potential witnesses who were actually involved with the GameStop transaction reside
in Colorado. This factor weighs in favor of not granting a stay of this Utah matter.

D. Mergence-Delaware’s complaint for declaratory relief is procedurally proper.

Q Advisors argues that this Utah declaratory relief action should be stayed or dismissed
because it was procedurally improper for Mergence-Delaware to file it after Q Advisors had filed
its complaint in Colorado, Q Advisors’ argument is unavailing and the cases it cites in support of

its position are distinguishable from this case.

(002991 14/1 } 19
Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 21 of 40

At the time Mergence-Delaware filed its complaint in this action, it was not named as a
party to the Colorado lawsuit filed by Q Advisors, Q Advisors filed its Colorado complaint against
Mergence-Nevada and Ellis, not Mergence-Delaware. Although Q Advisors later claimed that this
was a simple mistake, it specifically alleged in in its complaint that the Mergence corporation

liable under Engagement Letter No. 2 was “never” a Delaware corporation, even though it held
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itself out as such, That Mergence-Delaware was not a party to the Colorado action at the time it:

filed this declaratory relief action distinguishes this case from the cases cited in Q Advisors’
memorandum in support of motion to stay proceedings, See Hercules, nc. vy. Utah State Tax
Comm'n, 1999 UT 12, 4] 2-4, 974 P.2d 286 (holding that it was improper for plaintiff to file a
declaratory relief action seeking review of an interlocutory order from a tax commission
proceeding in which plaintiff was also a party); McRae & Deland v, Feitch, 669 P.2d 404, 405
(Utah 1983) (deciding that it was procedurally improper for plaintiffs to file a declaratory relief
action involving identical questions currently pending in another proceeding in which plaintiffs
were also parties); Hospah Coal Co. v, Chaco Energy Co,, 673 F.2d 1161 (10th Cir, 1982) (holding
that it was procedurally improper for persons named as defendants in a pending action in Texas to
file a declaratory judgment action in New Mexico against the plaintiffs in the Texas action).
Mergence-Delaware filed this action against Q Advisors because it was not named as a
party to Q Advisors’ initial Colorado complaint; because the events forming the basis for the
parties” dispute (Mergence-Delaware’s sale of Spring Communications to GameStop) arose in and
are connected to Utah, not Colorado; because Engagement Letter No, 2 by its express terms is
governed by Utah law and the contract was made and performed in Utah; because nearly all the

evidence and potential witnesses relevant to the complained-of sale of Spring Communications are

(002991 14/1 } 20
Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 22 of 40

located in Utah; and because Mergence-Delaware has never done business in Colorado and is not
subject to jurisdiction there. Mergence-Delaware was not forum shopping. It was simply filing
suit in the forum most appropriate, practical, and convenient to resolve the parties’ dispute.
CONCLUSION

The parties’ pending action in Colorado stay court does not necessitate a stay of this Utah
action. This action was filed first, has progressed further than the parties’ Colorado action, and
should be given priority. Each of the applicable stay factors weigh against staying this matter. For
the foregoing reasons, the Court should deny Q Advisors’ motion to stay proceedings,

DATED this 20th day of May, 2015,

KRUSE LANDA MAYCOCK & RICKS, LLC

/s/ Steven G, Loosle
Steven G, Loosie
Platte S. Nielson
Altorneys for Plaintiff

(002991 14/1} 21

Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 23 of 40

CERTIFICATE OF SERVICE
I hereby certify that on this 20th day of May, 2015, | electronically filed the foregoing

MEMORANDUM IN OPPOSITION TO MOTION TO STAY PROCEEDINGS with the Clerk
of the Court by using the electronic filing system which will send a notice of electronic filing to
the following:

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J, Mason Kjar

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Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 24 of 40

EXHIBIT 1
Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 25 of 40

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Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 29 of 40

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Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 38 of 40

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Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 39 of 40

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Case No. 1:15-cv-01093-KMT Document 17-6 filed 05/28/15 USDC Colorado pg 40 of 40

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